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                               UNITED STATES DISTRICT COURT
                                  DISTRiCt OF NEW JERSEY

   UNITED STATES OF AMERICA                               Honorable Douglas Arpert

                          v.                      :       Mag. No. 12-2547 (DA)

   MXfl1IEW Rt.I3LOWITZ
          a/k/a “Fat Matt”
                                                         ORDER FOR CONTINUANCE


         This mater having been opened to the Court by Paul 3. Fishman, United States Attorney

  tbr the District ot’ New Jersey (Jonathan W. Romankow. Assistant U.S. Attorney, appearing),

  and defendant MATTHEW RUBLOWJTZ, a/k/a “Fat MaiL” (Charles B. Waldron, Esq.,

  appearing), for an order granting a continuance of the proceedings in the above-captioned matter:

  and eight continuances having previously been granted; and the defendant being aware that he

  has the right to have the mater presented to a Grand Jury within thirty (30) days of the date of

  his arrest pursuant to Title 18 U.S.C. § 3161; and the defendant through his attorney having

  waived such rights and consented to the continuance; and for good and sufficient cause shown,

         FE Is TI IE FINDING OF THIS COURT that this action should be continued for the

  following reasons:

                 I.    Plea negotiations currently are in progress, and both the United States and the

         defendant desire additional time to enter a plea in Court. which would thereby render trial

         of this matter unnecessary.

                2.     Defendant has consented to the aforementioned continuance.

                3.     The grant of a continuance will likely conserve judicial resources.

                4.     Pursuant to Title 18 of the United States Code, Section 3161 (h)(7)(A), the

        ends of justice served by granting the continuance outweigh the best interests of the

        public and the dcfendants in a speedy trial.
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           CR131 ROD mat the proceedings in the above—capt toned matter are cont:nued from

   November 8, 2013 through January 7, 201 4: and it is further

           ORD1 Rib) that the retied het\ een tiom November 8, 20 1 3 throuch anuar 7. 20 14

   shall be excludable in computing time under the Speedy Trial Act of 1 974.




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  consented to:                        /

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